        Case 17-11351-TPA                      Doc       Filed 11/26/21 Entered 11/26/21 09:29:18                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 7
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________ District of __________

 Case number            ___________________________________________




                               410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: _______________________________________                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          ____ ____ ____ ____         Must be at least 21 days after date        _____________
                                                                                     of this notice


                                                                                     New total payment:                         $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
          Case 17-11351-TPA                          Doc          Filed 11/26/21 Entered 11/26/21 09:29:18                           Desc Main
                                                                  Document      Page 2 of 7

Debtor 1         _______________________________________________________                       Case number   (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



     _____________________________________________________________                             Date       11/26/2021
                                                                                                       ___________________
     Signature




 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company            _________________________________________________________



 Address            _________________________________________________________
                    Number                 Street

                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      ________________________                                                   Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
                                                 REPRESENTATION OF PRINTED DOCUMENT
Case 17-11351-TPA                        Doc           Filed 11/26/21 Entered 11/26/21 09:29:18                                                  Desc Main
                                                       Document      Page 3 of 7



                                                                                                  LOAN NUMBER:
                                                                                                     PREPARED: November 08, 2021

             DAVID C OBERG
             145 ELDRED CENTER RD
             GRAND VALLEY PA 16420-4307
                                                                                                  CUSTOMER SERVICE 1-877-526-3603

                                                                                                     pnc.com/mortgagecustomercare


                                                                 Your Escrow Summary
  Real Estate Settlement Procedures Act (RESPA) guidelines require us to provide you with an Annual Escrow Analysis Statement which includes all of
  your escrow disbursements from the previous year, as well as your estimated escrow disbursements for the upcoming year. All of the information that is
  provided on your enclosed annual escrow analysis statement is regulated by RESPA and cannot be changed. In an effort to simplify the escrow account
  information and monthly payment information that is calculated on the original document, we have also included this summary which will provide you with
  a quick snapshot of your actual escrow analysis statement. Please note that increases or decreases in your property taxes and/or insurance premiums
  will result in a change in your monthly payment amount, and may result in an escrow shortage or surplus.



                                                        New Monthly Payment                               Current Monthly Payment

  Payment Effective Date                                       January, 2022                                        January, 2021
  Payment Amount                                                   $1,487.64                                             $770.60

  Monthly Payment Breakdown                             New Monthly Payment                               Current Monthly Payment

  Principal & Interest                                                $501.63                                              $501.63
  Escrow Items                                                        $663.49                                              $264.15
  Escrow Surplus/Shortage Amount                                      $322.52                                                $4.82
  Total Monthly Payment                                             $1,487.64                                              $770.60

  Monthly Escrow Collection Amount                      New Monthly Collection Amount                     Current Monthly Collection Amount

  Monthly Tax Amount                                                   $176.57                                             $177.06
  Monthly Insurance Amount                                             $486.92                                              $87.08
  Monthly MIP/PMI Amount                                                 $0.00                                               $0.00
  Monthly Surplus/Shortage Amount                                      $322.52                                               $4.82
  Total Monthly Escrow Amount                                          $986.01                                             $268.97

  Annual Escrow Collection Amount                       New Annual Collection Amount                      Current Annual Collection Amount

  Annual Tax Amount                                                 $2,118.81                                            $2,124.77
  Annual Insurance Amount                                           $5,843.00                                            $1,045.00
  Annual MIP/PMI Amount                                                 $0.00                                                $0.00
  Total Annual Escrow Collection Amount                             $7,961.81                                            $3,169.77




     Please see reverse for more information and Frequently Asked Questions about escrow
     analysis.
Case 17-11351-TPA                         Doc               Filed 11/26/21   Entered 11/26/21 09:29:18         Desc Main
                                                Frequently
                                                    DocumentAsked Questions
                                                               Page 4 of 7

  Why did my payment change?
    An increase or decrease in your payment may be a result of an increase or decrease in your
    property taxes and / or insurance premiums and may result in an escrow shortage or surplus.
    An increase or decrease in your taxes may be due to a property reassessment, a change in the
    tax rate, a change in an exemption or a special assessment. An increase or decrease in your
    hazard insurance premium may be caused by a change in / or amount of your insurance
    coverage, or an increase in your insurance rate.

  Can my mortgage company provide me with information concerning why there were changes
  in my tax payments, special assessments, or insurance premiums?
     We apologize but your mortgage company does not have information as to why your taxes
     insurance or special assessments have changed. Please contact your local tax office or your
     insurance agent for further assistance.

  What should I do if I receive a tax bill?
    If you have an escrow account for taxes and the bill is for the current taxes due, we will obtain
    the tax bills from the tax collector. If you have an escrow account for taxes and the tax bill is
    for delinquent taxes due, please call us at 1-800-822-5626. If it is necessary to send a copy of your
    tax bill to us, please include your loan number and forward it to:
                                          PNC Bank
                                          Attn: Tax Department-B6-YM13-01-7
                                          P.O. Box 1804
                                                   PNC BankAttn: Tax Department- D
                                          Dayton, OH 45401-1804
  ayton, OH 45401-1804

       •     PA, CA, VA, MD, NJ, ID, IA, ME, and CT Customers: Supplemental or special / additional
             assessment tax is not escrowed. You will be responsible for paying these bills.

  What should I do if I receive an insurance renewal notice and a bill requesting payment?
    If you have an escrow account for insurance, please forward a copy of your bill with your loan
    number to:
                                 PNC   Bank, National
                                 PNC Bank,    NA      Association
                                 ISAOA   ATIMA
                                 ISAOA ATIMA
                                 P.O.  Box7433
                                 P.O. Box  7433
                                 Springfield,
                                 Springfield, OH
                                              OH 45504
                                                   45501
                                 1-888-229-5429
                                 888-229-5429

  If there is a shortage in my escrow account, what should I do?
      You may pay the shortage in your escrow account using the coupon attached to the escrow
      analysis. Upon receipt of the payment of the shortage, we will adjust your payment to reflect
      the lower payment amount. If you choose not to pay the shortage, the shortage will be spread
      over the next 12 months, interest free. In either case, your payment will be adjusted to reflect
      the new amount. If you currently use a coupon book for remitting your payment, a new book
      will be sent to you within 20 days of the original escrow analysis.

  My payment is deducted from my checking account each month, if my payment changed
  do I need to do anything to adjust the payment amount currently being deducted?
     If your payment is deducted from your checking account each month, the new payment
     amount will automatically be deducted from your account.

  For future reference, please note the following methods available for you to contact us:

            Website / Online Loan Information                                    Voice Connect / Customer Service
        Account
       Account   Access
               Access     24 hours
                      24 hours     a day
                               a day     – 7 days
                                     – 7 days     a week
                                              a week                            Convenient
                                                                                Convenient •• Toll-Free
                                                                                              Toll-Free •• Easy-To-Use
                                                                                                           Easy-To-Use
                pnc.com/mortgagecustomercare
               pnc.com/mortgagecustomercare                                               1-877-526-3603
                                                                                          1-877-822-5626


  Mailing Addresses:
                 Customer Service Inquiries                                     Overnight / Express Mail Payments
                    PNC Bank, NA
           Attn: Customer Service Research                                                    PNC Bank
                     B6-YM07-01-7                                                        350 East Devon Ave
                    P.O. Box 1820                                                          Itasca, IL 60143
                Dayton, OH 45401-1820
   PNC Bank, a division of PNC Bank, National Association
   PNC Bank, National Association
                                                                REPRESENTATION OF PRINTED DOCUMENT
                                                                                                ESCROW ACCOUNT
Case 17-11351-TPA                                    Doc
                                                  P.O. Box 1820
                                                                   Filed 11/26/21 EnteredDISCLOSURE
                                                  Dayton, OH 45401-1820                       11/26/21  09:29:18
                                                                                                        STATEMENT
                                                                                                                                                                                            Desc Main
                                                                        Document
                                                  Website: pnc.com/mortgagecustomercare
                                                  Customer Care Center: 1-877-526-3603                     Page 5 ofLOAN
                                                                                                                      7 NUMBER:
                                                                                                                                                DATE:                 November 08, 2021

                                                                                                                                  PROPERTY ADDRESS:
                                                                                                                                     2170 THOMPSON HILL RD
                                                                                                                                     RUSSELL, PA 16345


                  DAVID C OBERG
                  145 ELDRED CENTER RD
                  GRAND VALLEY PA 16420-4307




    CURRENT MONTHLY MORTGAGE PAYMENT
    Principal & Interest                                                            501.63          Æ                          NEW PAYMENT INFORMATION
                                                                                                                  Principal & Interest                                                            501.63
    Escrow                                                                          264.15                        Escrow                                                                          663.49
    Prorated Escrow Shortage
    Total Payment
                                                                                      4.82
                                                                                    770.60
                                                                                                    Æ             Prorated Escrow Shortage
                                                                                                                  Total Payment
                                                                                                                                                                                                  322.52
                                                                                                                                                                                                1,487.64

                                                                                                    Æ
                                                                                                                  New Payment Effective Date                                                    01/01/22



                                                                             COMING YEAR ESCROW PROJECTION
   This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
   insurance premiums, and mortgage insurance.
   This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
   anticipated activity in your escrow account for the coming 12 months.

    ANTICIPATED ESCROW DISBURSEMENT                                          PAYMENTS                                                             PAYMENTS               CUR BAL             REQ BAL
                                                              MONTH         TO ESCROW                      DESCRIPTION                          FROM ESCROW            PROJECTION          PROJECTION
  HAZARD INS                                  $5,843.00
                                                                                                        BEGINNING BALANCE                                                  1,309.24            5,179.51
  CITY TAX                                     $887.61
                                                              January             663.49                                                                                     1,972.73            5,843.00
  TAXES                                       $1,231.20
                                                              February            663.49                                                                                     2,636.22            6,506.49
                                                              March               663.49                 HAZARD INS                               5,843.00                  -2,543.29 *          1,326.98 **
                                                              April               663.49                                                                                    -1,879.80            1,990.47
                                                              May                 663.49                                                                                    -1,216.31            2,653.96
                                                              June                663.49                                                                                      -552.82            3,317.45
  TOTAL DISBURSEMENTS                         $7,961.81
                                                              July                663.49                                                                                       110.67            3,980.94
  DIVIDED BY 12 MONTHS                                        August              663.49                                                                                       774.16            4,644.43
                                                              September           663.49                   CITY TAX                                 887.61                     550.04            4,420.31
  MONTHLY ESCROW DEPOSIT                        $663.49       September                                  SCHOOL TAX                               1,231.20                    -681.16            3,189.11
                                                              October             663.49                                                                                       -17.67            3,852.60
   CALCULATION OF ESCROW ADJUSTMENT                           November            663.49                                                                                       645.82            4,516.09
                                                              December            663.49                                                                                     1,309.31            5,179.58
  BEGINNING PROJECTED BALANCE                 $1,309.24       * The projected escrow balance at the low point.
  BEGINNING REQUIRED BALANCE                  $5,179.51       ** The lowest balance the escrow account should attain during the projected period.


  ESCROW SHORTAGE                             $3,870.27
                                                                                                              MORE INFORMATION ON REVERSE SIDE
 The required minimum balance allowed by
 federal law (RESPA) is two times your monthly
 escrow payment (excluding MIP/PMI), unless
 your mortgage document or state law specifies
 a lower amount.



                                                                              IMPORTANT MESSAGES
  The shortage in your recent escrow analysis was automatically spread across your upcoming payments, interest free. However, if you wish to discuss options that do not result
  in an increase in your payment, please contact us via the following options: Visit a local Branch, visit our Online Banking, or call our Customer Care team.
  Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
  send cash by mail.



  We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
  prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                       INTERNET REPRINT


  How to contact us or make your monthly Mortgage payments:

               Make your check, money order or cashier’s check payable to PNC                                                           Online Banking Payments:
               Bank and include your loan number and allocation instructions on                                                         pnc.com/mortgagecustomercare
               memo line. Do not send cash by mail.

               Regular Mail:                                          Overnight:                                                        We are here, if you have questions or need
               PNC Mortgage Payments                                  PNC Bank                                                          assistance, please contact our Customer Care
               P.O. Box 771021                                        350 East Devon Ave                                                Center at 1-877-526-3603.
               Chicago, IL 60677                                      Itasca, IL 60143                                                      Monday-Thursday 8:00 a.m. - 9:00 p.m. ET
                                                                                                                                            Friday 8:00 a.m. - 5:00 p.m. ET
               All payments must be funds from a U.S. Bank Account and are                                                                  Saturday 9:00 a.m. - 2:00 p.m. ET
               subject to PNC’s acceptance.                                                                                             You can also visit your local PNC branch.
Case 17-11351-TPA                                                    ESCROW
                                                                    Doc      ACCOUNT
                                                                          Filed      DISCLOSURE
                                                                                11/26/21        STATEMENT
                                                                                           Entered 11/26/21 09:29:18 Desc Main
        LOAN NUMBER:                                                      Document       Page 6 of 7          DATE: November 8, 2021

        Your projected escrow balance as of 12/31/21 is $1,309.24. Your required beginning escrow balance, according to this analysis, should be $5,179.51.
        This means you have a shortage of $3,870.27. We have divided the shortage interest-free, over 12 months. If you choose to pay the shortage in full, then
        your new monthly mortgage payment will be reduced to $1,165.12.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $1,326.98, as it does in March. Under Federal law,
        your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                       Description                                          Payments                       Disbursements                                                                                                    Balance
                                                       BEGINNING BALANCE                                                                                                                                                                                   1,320.72
         01/21                                                                                                264.15                                                                                                                                       1,584.87
         02/21                                                                                                264.15                                                                                                                                       1,849.02
         03/21                                         HAZARD INS                                             264.15                              1,045.00                                                                                                 1,068.17
         04/21                                                                                                264.15                                                                                                                                       1,332.32
         05/21                                                                                                264.15                                                                                                                                       1,596.47
         06/21                                                                                                264.15                                                                                                                                       1,860.62
         07/21                                                                                                264.15                                                                                                                                       2,124.77
         08/21                                                                                                264.15                                                                                                                                       2,388.92
         09/21                                         CITY TAX                                               264.15                                887.61                                                                                                 1,765.46
         09/21                                         SCHOOL TAX                                                                                 1,237.16                                                                                                   528.30 **
         10/21                                                                                                264.15                                                                                                                                         792.45
         11/21                                                                                                264.15                                                                                                                                       1,056.60
         12/21                                                                                                264.15                                                                                                                                       1,320.75
        TOTAL                                                                                               3,169.80                              3,169.77

        Account History
        This is a statement of actual escrow account activity from December 2020 through December 2021. Compare it to the Projected Activity from the Previous
        Analysis which appears above the Account History.
        Your total mortgage payment during the past year was $770.60 of which $501.63 was your Principal and Interest payment and $264.15 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                   Balance
                                   BEGINNING BALANCE                                                                                              1,278.41
            12/20                                                                            349.91                                               1,278.41
            01/21                                                                            268.97                                               1,547.38
            02/21                                                                            268.97                                               1,816.35
            03/21                  HAZARD INS                                                268.97                      1,078.00 *               1,007.32
            04/21                                                                            268.97                                               1,276.29
            05/21                                                                            268.97                                               1,545.26
            06/21                                                                            537.94                                               2,083.20
            07/21                                                                            268.97                                               2,352.17
            09/21                  CITY TAX                                                  537.94                        887.61                 2,002.50
            09/21                  SCHOOL TAX                                                                            1,231.20 *                 771.30
            10/21                                                                            268.97                                               1,040.27
            12/21                                                                            268.97 e                                             1,309.24
         TOTAL                                                                             3,577.55                      3,196.81
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/mortgagecustomercare to send us an email, write to us at PNC Bank;
        Attention: Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number
        1-877-526-3603.




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          clearly see the words
          Do not cash if you do not




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                                  Document      Page 7 of 7



                              UNITED STATES BANKRUPTCY COURT


 IN RE:                                           Case No.
                                                  Judge
                                                  Chapter 13



                                  CERTIFICATE OF SERVICE OF
                              Notice of Mortgage Payment Change

  I, the undersigned, hereby certify that, on 11/26/2021 , a true and correct copy of the Notice
of Mortgage Payment Change was electronically served upon the following using the
CM/ECF system:

          Attorney:
Trustee:
Office of the United States Trustee

  Further, I certify that, on 11/26/2021 , a true and correct copy of the Notice of Mortgage
Payment Change was forwarded via U.S. Mail, first class postage prepaid and properly
addressed, to the following at the address shown below:




                                                             By: /s/ Jodi Porter
                                                             Jodi Porter
                                                             PNC Bank, N.A.
                                                             3232 Newmark Drive
                                                             Miamisburg, OH 45342
                                                             866 754 0659
